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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

LARRY COHEN,

     Plaintiff,

v.                                                     CASE NO: 6:19-cv-01088-CEM-LRH

SYNCHRONY BANK,

  Defendant.
_____________________________/

                                 PLAINTIFF’S STATUS REPORT

           The Plaintiff, LARRY COHEN, by and through his counsel, hereby submits this status

report as required by the Court’s Order Granting the Defendant’s Joint Motion to Stay Matter

pending Arbitration [Doc. 17], and in support hereof states as follows:

           1.     On October 4, 2019 the case at issue was filed in the American Arbitration

Association and assigned case number 01-19-0003-1890.

           2.     Currently, the parties are pending the appointment of an Arbitrator.



Respectfully submitted,

/s/ Octavio Gomez
Octavio Gomez, Esquire
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 21, 2019, a true and correct copy of the above and

foregoing has been filed with the Court using the Court’s CM/ECF system, will cause a copy to

be sent to all attorneys.



                                                  /s/ Octavio Gomez
                                                  Octavio Gomez, Esquire
                                                  Florida Bar No.: 0338620




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